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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA F I L E D
JUL 2 1 2017
UNITED STATES OF AMERICA
C|erk, U.S. Dlstrict and
v Bankruptcy Courts
` CRIMINAL NO. 16-cr-00163 (CKK)
CRISTIAN FLAMANZEANU
ALSO KNOWN AS “CHRISTIANO
FLAMANZEANU”
Defendant
STATEMENT OF OFFENSE

 

Pursuant to Rule ll of the Federal Rules of Criminal Prccedure, the United States of
America, by and through its attorney, the United States Attorney for the District of Cclumbia, and
the defendant, CRISTIAN FLAMANZEANU, With the concurrence of his attorney, agree and
stipulate as follows:

Introduction

1. Defendant CRISTIAN FLAMANZEANU, also known as “Christiano
Flarnanzeano,” Was a resident and citizen of Rornania.

2. Co-Conspirator 10 (“CC-IO”), Cc-Conspirator Daniel Alexandru Ciornag

(“Ciomag”), and Cc-Conspirator 22 (“CC-ZZ”), Wcrc residents and citizens cf Romania.

3. C<)-Conspirator Sabina Selimovic (“Selimovic”) Was a resident of Germany and a
citizen of Serbia. w

4. Cc-Ccnspirator Harry Meir Mimoun Amar (“Arnar”) Was a resident and citizen of
Israel.

5. CO-Conspirator 7 (“CC"7”) Was a resident and citizen of Hungary.

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The Conspiracv to Commit the Business Email Compromise Scheme

6. From in or around April 2014, through in or around March 2015, within the District
of Columbia and elsewhere, defendant FLAMANZEANU, together with other co-conspirators,
did knowingly and intentionally conspire, combine, confederate, and agree to devise a scheme and
artifice to defraud and to obtain money and property by means of false and fraudulent pretenses,
representations, and promises, and for the purpose of executing and attempting to execute the
scheme and artifice, to transmit and cause to be transmitted in interstate and foreign commerce, by
means of a wire communication, certain writings, signs, signals, and sounds, in violation of Title
18, United States Code, Section 1343 (wire fraud).

A. Background on the Business Email Compromise Scheme

7. Beginning in or around April 2014, and continuing through in or around March
2015 , defendant FLAMANZEANU, together with other co-conspirators, executed an
intemational, cyber~enabled fraud scheme commonly referred to as a “Business Email
Compromise” or “BEC” scheme (hereinafter referred to as the “BEC scheme”).

8. lt was part of that scheme that FLAMANZEANU, together with his co-
conspirators, deceived mid-level employees of target companies, who maintained access to and
control over the target companies’ bank accounts, convincing those employees to transfer large
sums of money to bank accounts opened and controlled by other co-conspirators.

9. In executing the BEC scheme, FLAMANZEANU, together with his co-
conspirators, targeted mid-sized and large companies through “spoofed” emails, that is, emails that
purported to come from someone else, by co-conspirators impersonating executive-level
employees of the companies, such as the President and Chief Executive Officer (“CEO”) of a

company.

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lO. Once an employee of a target company had been “hooked” by a co-conspirator, the
company employee was led to believe that they were being entrusted to handle a large financial
transaction, such as a “secret” corporate acquisition The employee was then instructed by the co-
conspirators to initiate wire transfers from the company’s corporate bank accounts to bank
accounts controlled by members of the criminal enterprise to pay for the alleged corporate
acquisition

ll. To fraudulently induce the employee to initiate the wire transfer of money, the co-
conspirators created fake non-disclosure agreements appearing to come from the European
Securities and Markets Authority (or “ESMA”). The ESMA non-disclosure agreements were sent
by the co~conspirators, through email, to the mid-level employees at the victim companies The
co-conspirators then instructed the mid-level employees to execute the agreements because the
purported corporate transaction was highly confidential and could not be shared with anyone. 'l`he
non-disclosure agreements, however, needed to be signed by the actual high-ranking corporate
official at the victim company who were being impersonated by the co-conspirators. Thus, the co-
conspirators would find the high-ranking officials’ signatures on publicly filed documents and
through internet databases and would copy those signatures onto the phony contracts.

12. The co-conspirators would also contact the mid-level employees at the victim
companies by telephone, posing as outside counsel assisting the high-ranking corporate official iri
the phony corporate transaction To add to the supposed legitimacy of the transaction, the co-
conspirators would also create fake websites for the attorneys and would manipulate Google search
engine results to ensure that, if the employees ever attempted to look-up the purported outside

counsel, the employees would find the fraudulent attorney’s website.

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13. Once the co-conspirators successfully persuaded the employees at the victim
companies to transfer money to the co-conspirators’ bank accounts, the funds were quickly wire
transferred out of reach of the victim company by members of the conspiracy and into bank
accounts located in the People’s Republic of China and elsewhere, with the funds ultimately being
delivered to co-conspirators located in Europe and elsewhere.

B. The Technical Aspects of the BEC Scheme

 

14. The co-conspirators created the “spoofed” emails by using a fee-based Internet
database to learn which employees at the target companies likely had the authority to transfer large
sums of money to external bank accounts. The co-conspirators also used those databases to learn
the email addresses for the presidents, CEOs, and CFOs of the target companies

15. The co-conspirators then purchased domain names from a United States-based
domain name registrar. They would purchase domain names that closely mimicked the actual
domain names of the victim companies in order to trick the companies’ employees into believing
that the emails the co-conspirators sent from the fraudulent domain names were actually being sent
from an executive-level employees of the target companies

16. The co-conspirators chose to purchase the domain names from this United States-
based registrar because; (l) the registrar accepted payment in the form of Bitcoin, which is a
virtually untraceable electronic fiat currency; and (2) the registrar offered services which
anonymized the creator of the domain name thereby preventing others from determining who, in
fact, truly created that domain name. To purchase the domain names from this registrar, the co-
conspirators initiated the transfer of Bitcoin through the Internet to the domain name registrar’s

servers located in the United States.

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l7. Once the co-conspirators purchased the domain names, they then used Mozilla
Thunderbird, which is an email pro gram, to make the domain names appear identical to the victim
companies’ actual domain names. The co-conspirators then sent their spoofed emails to the target
companies by re-configuring the Simple Mail Transfer Protocol (“SMTP”) settings in Mozilla
Thunderbird to utilize the servers of well-known email providers in the United States to ensure
that their fraudulent emails actually reached the employees of the target companies and were not
stopped by the victim companies’ sparn filters.

18. The co-conspirators also purchased domain names, from the same United States-
based domain name registrar, to create the websites for fictitious outside counsel that were
purportedly working on the transaction and that, when viewed by the employees of the target
companies, would backstop the co-conspirators’ fraudulent representations

19. The co-conspirators also communicated through electronic means, such as by text
messages and online chat communications, through United States-based messaging applications,
such as WhatsApp and Wickr.

C. The Use of “Safe Houses”

20. The co-conspirators, including FLAMANZEANU, executed the BEC Scheme out
of a base of operations, also known as “safe houses,” which they periodically moved from country
to country. The co-conspirators maintained the “safe houses” in different countries from those in
which the target companies were located and from those in which the bank accounts receiving
monetary transfers of criminal proceeds were opened.

21. The co-conspirators used Virtual Private Networks (“VPNs”), which is technology

that allowed them to hack into and route Internet traffic through Wi-Fi networks in the vicinity of

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the “safe houses,” voice-changing software, and other technical exploitations, in order to avoid
detection by law enforcement and the target corporations.
D. Flamanzeanu’s Role in the BEC Scheme

22. Defendant FLAMANZEANU is a skilled graphic designer with prior experience
using design programs, such as Microsoft Photoshop. FLAMANZEANU’s primary role in the
BEC Scheme was to use his design skills to assist in copying the signatures of the high-ranking
corporate officials onto the fraudulent ESMA non-disclosure agreements that were sent to the mid-
level employees of the target companies FLAMANZEANU also assisted in creating variations
of the high-ranking officials’ signatures to make them appear more authentic. In addition,
FLAMANZEANU used his design skills to assist in the creation of the “spoofed” emails by
inserting corporate logos into those emails, thereby making those emails appear legitimate to the
recipient

23. When the BEC Scheme began in 2014, defendant FLAMANZEANU was working
as the Art Director for a company in Bucharest, Romania, that developed games and applications
(or “apps”) for mobile telephones FLAMANZEANU’s employer was an acquaintance of co-
conspirator Ciomag. FLAMANZEANU hoped to someday develop his own games and apps for
mobile telephones and was seeking funding for that purpose.

Flamanzeanu’s Execution of the BEC Scheme

24. Iri or around May 2014, FLAMANZEANU was sent to Antalya, Turkey, by his
employer under the false pretense that FLAMANZEANU would use his design skills to assist
others in “cleaning up” confidential corporate documents For his efforts, FLAMANZEANU’$
employer agreed to pay FLAMANZEANU approximately €3,000 per month. FLAMANZEANU

was unaware, at the time, that he was going to be involved in the BEC Scheme.

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25 . When FLAMANZEANU arrived at the “safe house” in Turkey, co-conspirators
Ciomag and CC-IO, along with CC-22, were already present. Over the next few weeks,
FLAMANZEANU stayed in a room separate from Ciomag and CC-lO, and Ciomag provided
FLAMANZEANU with USB flash drives containing signatures that needed to be “cleaned-up” or
remade. FLAMANZEANU then used his design skills to make those signatures appear less
pixelated, and thereby more authentic, and returned those “cleaned-up” signatures to Ciomag on
the same flash drive After working for a couple of weeks in the safe house, FLAMANZEANU
realized that he was engaged in a fraudulent scheme to defraud corporate entities of their money
but did not understand the full details and scope of that fraud scheme

26. On or about June 18, 2014, CC-lO, Ciomag, CC-22, and FLAMANZEANU,
fraudulently caused a Spanish company, herein designated as Victim 9, to Wire transfer €283,400
to a bank account in Hungary provided by CC-7. Following this successful fraud attack, the co-
conspirators including FLAMANZEANU, left Turkey due to visa restrictions
FLAMANZEANU then returned home to Romania.

27. Before leaving Romania, however, Ciomag provided FLAMANZEANU with a
cellular phone and instructed FLAMANZEANU to keep the phone powered on. Ciomag
eventually called FLAMANZEANU and asked FLAMANZEANU to join the co-coiispirators in
their new safe house in Varna, Bulgaria. At the time, FLAMANZEANU was still interested in
developing a mobile application and needed funding. Ciomag and CC-l() promised to provide
FLAMANZEANU with €30,()00 (approximately $40,000 USD) in funding for his app if he
remained in the conspiracy FLAMANZEANU then decided to join the conspirators in Bulgaria

in or about June 2014.

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28. ln Bulgaria, FLAMANZEANU continued to “clean-up” the signatures of the high-
ranking corporate officials that were used in the fraudulent contracts for the BEC Scheme
FLAMANZEANU also worked on the corporate logos that were inserted into the fraudulent emails
that were sent to the employees at the victim companies The initial members of the conspiracy in
Bulgaria were CC-lO, Ciomag, CC-22, and FLAMANZEANU.

29. ln or around July 2014, co-conspirators Amar and Selimovic traveled to Bulgaria
to join the conspiracy with CC-lO, Ciomag, CC-22, and FLAMANZEANU. The co-conspirators
then decided to target German companies among others, because Selimovic was fluent in German
and professed to have success in executing similar BEC schemes in lsrael. Selimovic talked to
victim companies on the phone, posing as the lawyer, and Amar assisted the co-conspirators,
among other things, in composing the fraudulent emails to the victim companies Following the
arrival of Amar and Selimovic, FLAMANZEANU began to understand in greater detail how the
BEC Scheme operated, such as that the scheme involved defrauding companies through emails
In the Bulgarian safe house, FLAMANZEANU began to receive the full corporate documents with
signatures from Ciomag to work on, rather than just the signatures of the corporate officials, and
manipulated those corporate documents to facilitate the BEC Scheme

30. In or around July 2014, through in or around August 2014, while the “safe house”
was operating in Bulgaria, co-conspirators Amar, Selimovic, CC-lO, Ciomag, CC-22, and
FLAMANZEANU, through false representations caused a German company, herein designated
as Victim 6, to wire transfer approximately €550,000 to a bank account controlled by the co-

conspirators 1

 

1 The approximate amount in U.S. dollars was $723,250, based on the lowest Federal Reserve
noon buying rate (the “exchange rate”) for the period from July 1, 2014, through August 29,
2014. See http://www.federalreserve.gov/releases/hlO/hist/datOO.

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31. On or about August 7, 2014, defendant FLAMANZEANU and his co-conspirators
caused a Finnish company, herein designated as Victim l(), to attempt to wire transfer €383,4()()2
from the company’s bank account to a bank account in Hungary provided by CC-7. The
transaction, however, was able to be reversed and the funds returned to the victim.

32. ln or around August and September 2014, CC-lO, Ciomag, Selimovic, Amar, CC-
22, and FLAMANZEANU caused a company based in Portugal, herein designated as Victim 5 , to
wire transfer approximately $3 80,0()0 to a bank account in China.

33. ln September 2014, the co-conspirators left the safe house in Bulgaria.
FLAMANZEANU returned home to Romania and was told again, by Ciomag, to keep the cell
phone Ciomag gave FLAMANZEANU turned on. While FLAMANZEANU was in Romania,
Ciomag contacted FLAMANZEANU again and informed FLAMANZEANU that he was needed
in the conspirators’ new safe house in Prague, Czech Republic. FLAMANZEANU then traveled
to Prague, again under the belief that Ciomag would provide the funding necessary for
FLAMANZEANU to develop his mobile gaming application

34. ln or around October or November 2014, CC-lO, Ciomag, Selimovic, CC-22, and
FLAMANZEANU began operating the BEC scheme from the safe house in Prague. At this
location, FLAMANZEANU continued to work on the forged signatures used in the fraudulent
contracts and worked on the corporate logos inserted in the fraudulent emails

35. On or about November 10, 2014, defendant FLAMANZEANU, and his co-
conspirators, through false representations concerning a purported corporate acquisition, caused
an accountant employed at a company located in Germany, herein designated as Victim l, to wire

transfer approximately €57(),000 from a bank account in Germany to a bank account in Hungary.3

 

2 The amount in U.S. dollars was $407,648, based on the exchange rate for that date
3 The amount in U.S. dollars was $708,225, based on the exchange rate for that date

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36. On or about November 12, 2014, based on continuing false representations
concerning a purpoited corporate acquisition, Victim 1 Wire transferred an additional amount of
approximately €5'70,0004 from a bank account in Germany to the bank account in Hungary.

37. On or about November 17, 2014, based on continuing false representations
concerning a purported corporate acquisition, Victim 1 wire transferred an additional amount of
approximately €855,0005 from a bank account in Germany to the bank account in Hungary.

38. On or about November 18, 2014, based on continuing false representations
concerning a purported corporate acquisition, Victim 1 was directed to wire an additional amount
of approximately €l,564,0806 from a bank account in Germany to the bank account in Hungary.
On or about November 18, 2014, Victim 1 discovered the scheme and did not initiate the additional
wire transfer of €1 ,564,080.

39. On or about November 26, 2014, CC-10, Ciomag, Selimovic, CC-22, and
FLAMANZEANU, through false representations concerning a purported corporate acquisition,
caused an employee in the accounting department at a company located in Germany, herein
designated as Victim 4, to wire transfer approximately €570,0007 from a bank account in Germany
to a bank account in Hungary. CC-10 obtained the bank account information for the account in
Hungary from CC-7.

40. On or about November 28, 2014, based on continuing false representations Victim
4 wire transferred an additional €850,0008 from a bank account in Germany to the bank account

in Hungary.

 

4 The amount in U.S. dollars was $709,992, based on the exchange rate for that date

5 The amount in U.S. dollars was $1,064,218.50, based on the exchange rate for that date
6 The amount in U.S. dollars was $1,960,417.87, based on the exchange rate for that date
7 The amount in U.S. dollars was 3712,671, based on the exchange rate for that date

8 The amount in U.S. dollars was $1,057,230, based on the exchange rate for that date

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41. On or about December 2, 2014, based on continuing false representations Victim
4 Wire transferred an additional €850,0009 from a bank account in Germany to the bank account
in Hungary.

42. On or about December 2, 2014, based on continuing false representations Victim
4 wire transferred an additional €850,00010 from a bank account in Germany to the bank account
in Hungary.

43. On or about December 3, 2014, based on continuing false representations Victim
4 wire transferred an additional €1 ,700,00011 from a bank account in Germany to the bank account
in Hungary.

44. On or about December 9, 2014, based on continuing false representations
defendant FLAMANZEANU, together with others caused Victim 4 to wire transfer €1,100,000
from a bank account in Germany to a bank account in China provided to CC-10 by CC-7.12

45. The co-conspirators eventually left Prague, and FLAMANZEANU returned home
to Romania. Again, while in Romania, FLAMANZEANU was instructed by Ciomag to keep the
cellular phone Ciomag gave to FLAMANZEAU turned on. Eventually, FLAMANZEANU
received a call from Ciomag telling FLAMANZEANU that his assistance was needed at the
conspirators’ new safe house in Warsaw, Poland. FLAMANZEANU, believing that his continued
assistance in the BEC Scheme would result in Ciomag funding the development of his “app,”
traveled to Warsaw.

46. The co-conspirators operating in the Warsaw safe house consisted of CC-10,

Ciomag, Selimovic, and FLAMANZEANU. Despite repeated attempts they were not successful

 

9 The amount in U.S. dollars was $1,053,150, based on the exchange rate for that date
10 The amount in U.S. dollars was $1,053,150, based on the exchange rate for that date
11 The amount in U.S. dollars was $2,091,680, based on the exchange rate for that date
12 The amount in U.S. dollars was $1,365,650, based on the exchange rate for that date

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in defrauding any companies while there The co-conspirators eventually left Warsaw and
relocated to their final safe house in Bratislava, Slovakia. The group in Bratislava consisted of
CC-lO, Ciomag, Selimovic, and FLAMANZEANU.

47. On or about March 5, 2015, CC-10, Ciomag, Selimovic, and FLAMANZEANU,
through false representations concerning a purported corporate acquisition, caused a German
company, herein designated as Victim 2, to wire transfer €570,00013 from a bank account in
Germany to a bank account in Poland provided to CC-10 by CC-7.

48. On or about March 10, 2015, CC-lO, Ciomag, Selimovic, and FLAMANZEANU,
through false representations concerning a purported corporate acquisition, caused a German
company, herein designated as Victim 3, to attempt a wire transfer of €750,00014 from a bank
account in Germany to a bank account in Hungary provided to CC-lO by CC-7. Victim 3 was able
to terminate the wire transaction

49, While in the safe house in Bratislava,` law enforcement arrested CC-10. Ciomag
and FLAMANZEANU fled the location FLAMANZEANU had no contact with any of the
aforementioned co-conspirators since that time FLAMANZEANU also never received any
funding for the mobile phone application that he was developing.

Limited Nature of Proffer

This proffer of evidence is not intended to constitute a complete statement of all facts
known by the defendant or the government, but is a minimum statement of facts intended to
provide the necessary factual predicate for the guilty plea. As to the other named defendants and

the charges in the Superseding Indictment, the defendant admits that the allegations in the

 

13 The amount in U.S. dollars was $627,342, based on the exchange rate for that date
14 The amount in U.S. dollars was $803,025, based on the exchange rate for that date

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indictment are true or that he does not have information to dispute or disprove those allegations

set forth in the Superseding Indictment in any way.

Respectfully submitted,

CHANNING D. PHILLIPS
United States Attomey
D.C. Bar No. 415793

 

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DEFENDANT'S ACCEPTANCE

 

The preceding statement is a summary, made for the purpose of providing the Court With
a factual basis for my guilty plea to the charges against me lt does not include all of the facts
known to me regarding these offenses l make this statement knowingly and voluntarily and
because l am, in fact, guilty of the crimes charged. No threats have been made to me nor am l
under the influence of anything that could impede my ability to understand this Statement of
Offense fully.

l have read every word of this Statement of the Offense, or have had it read to me Pursuant

to Federal Rule of Criminal Procedure 11, after consulting with my attorney, l agree and stipulate
to this Statement of the Offense, and declare under penalty of perjury that it is true and correct.

Dated: ?/24 //; . BEC
` CRISTIAN FLAMANZEANU

Defendant

 

ATTORNEY'S ACKNOWLEDGMENT

 

I have read this Statement of the Offense, and have reviewed it with my client fully. l
concur in my client's desire to adopt and stipulate to this Statement of the Offense as true and

 

accurate
' f
Dated: '7 21 [ WW m
JOHN [ARNEY
Attorney for Defendant C stian
Flamanzeanu

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